WALTER F. AUSTIN, TRUSTEE, ROBERT F. AUSTIN TRUST, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENTAustin v. CommissionerDocket No. 46074.United States Board of Tax Appeals18 B.T.A. 1098; 1930 BTA LEXIS 2524; February 12, 1930, Promulgated *2524 Walter F. Austin, as Trustee of the Herbert T. Austin Trust,18 B.T.A. 1096"&gt;18 B.T.A. 1096 followed.  Cornelius C. Beekman, Esq., for the petitioner.  F. R. Shearer, Esq., for the respondent.  MURDOCK *1098  The Commissioner notified the petitioner of a deficiency in his tax liability for the calendar year 1927 in the amount of $661.36.  The petitioner alleges that the Commissioner erred in refusing to tax him separately on the ordinary income of the trust which was to be accumulated during the minority of the beneficiary, and on the gain from the sale of assets included in the corpus of the trust.  The answer admitted all the facts alleged in the petition and the case was submitted on the pleadings.  FINDINGS OF FACT.  The petitioner is an individual residing at Plainfield, N.J.  He is trustee of the Robert F. Austin trust, created under a deed of trust executed by him (the petitioner) on the second day of July, 1923.  The trust is irrevocable.  The beneficiary of the trust is an infant.  The trust provides that the income is to be accumulated until the beneficiary shall reach his majority, when the accumulated income is to be paid over*2525  to him.  Thereafter, the income is to be paid to the beneficiary until he attains the age of forty years, at which time the principal is to be turned over to him for his own use and benefit, absolutely and forever.  Should the beneficiary die before reaching the age of forty years, the income therefrom is to be accumulated for the benefit of and paid to another son of the donor, Herbert T. Austin, in similar manner.  Upon his reaching the age of forty years, the principal is to be paid over to him for his own use and *1099  benefit, absolutely and forever.  Should Herbert T. Austin die before reaching the age of forty years, then the principal is to be paid and turned over to his descendants, per stirpes.During the year 1927 the ordinary income from the trust fund was accumulated and a profit arose from the sale of capital assets which was added to the principal of the trust and reinvested.  The petitioner, as trustee under this trust, made two reports of taxable income for the year ended December 31, 1927, which were duly filed.  Both reports were made on Form 1040.  In one report the petitioner set forth the ordinary income from the trust which was to be accumulated, *2526  and in the other report the petitioner set forth the profit arising from the sale of capital assets which was to be added to the corpus of the trust.  The Commissioner determined the deficiency by combining all of the income from the trust, all of which, he explained, should have been combined in one return, and the tax thereon computed accordingly.  OPINION.  MURDOCK: This case is parallel to the case of , decided this day, and as in that case, so here, we approve the action of the Commissioner.  Judgment will be entered for the respondent.